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                                      UNITED STATES BANKRUPTCY COURT
                                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                                              EASTERN DIVISION

  In re:
                                                       Chapter 13
  JEANY L. DUNLAP                                      Case No. 19-08135
  AKA JEANY FREDERICKSON
                                                       Judge A. BENJAMIN GOLDGAR
                        Debtor(s)

                                             NOTICE OF MOTION
          PLEASE TAKE NOTICE that on September 20, 2019, at the hour of 9:30 A.M., I shall appear
 before the Honorable Judge A. BENJAMIN GOLDGAR, Room in the courtroom usually occupied by
 him at the Park City Branch Court, Court Room B, 301 S. Greenleaf Avenue, Park City , IL, and then
 and there move the Court pursuant to the attached Motion, at which time and place you may appear
 if you see fit.
                                                            /s/ Timothy R. Yueill
                                                            By: Timothy R. Yueill, Esq.
 Served upon the following parties electronically:
 DAVID M SIEGEL, DAVID M. SIEGEL & ASSOCIATES, 790 CHADDICK DRIVE, WHEELING, IL
 60090 - Counsel for Debtor(s)
 GLENN B STEARNS, 801 WARRENVILLE RD., STE. 650, LISLE, IL 60532 - Trustee
 PATRICK S. LAYNG, OFFICE OF THE U.S. TRUSTEE, REGION 11, 219 S. DEARBORN ST.,
 ROOM 873, CHICAGO, IL 60604-U.S. Trustee
 and served upon the following parties by mail:
 JEANY L. DUNLAP AKA JEANY FREDERICKSON, 3919 CORNELL AVE, PARK CITY, IL 60085 -
 Debtor(s)
                                         Certification of Service
          I, the undersigned, an attorney, hereby certified that I have served a copy of this Notice
 along with the attached Motion upon the parties listed above, as to the Trustees and Debtor(s)’
 counsel via electronic through ECF on August 21, 2019, and as to the Debtor(s) by causing same to
 be mailed in a properly addressed envelope, postage prepaid, in the U.S. Mail Chute at 175 North
 Franklin, Chicago, Illinois, before the hour of 5:00 p.m., on August 21, 2019.

                                                             By: /s/ Timothy R. Yueill
 LAW OFFICES OF IRA T. NEVEL, LLC
 Ira T. Nevel
 Timothy R. Yueill
 Greg Elsnic
 Richard Drezek
 Aaron Nevel
 175 North Franklin St. Suite 201
 Chicago, Illinois 60606
 (312) 357-1125
 Pleadings@nevellaw.com
 MO
 # 19-01511
                                      THIS FIRM IS A DEBT COLLECTOR
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                                   UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF ILLINOIS
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  In re:
                                                        Chapter 13
  JEANY L. DUNLAP                                       Case No. 19-08135
  AKA JEANY FREDERICKSON

                                                        Judge A. BENJAMIN GOLDGAR
                     Debtor(s)

                            MOTION FOR RELIEF FROM AUTOMATIC STAY

            NOW COMES IGLOO SERIES IV TRUST, a secured creditor herein, by and through its
 counsel, LAW OFFICES OF IRA T. NEVEL, LLC and moves this Honorable Court for an Order
 granting relief from the Automatic Stay in effect as to this creditor, and in support thereof, states as
 follows:
            1. Jurisdiction is proper and venue is fixed in this Court with respect to these parties.
            2. The Debtor herein filed a Petition under Chapter 13 of Title 11, United States Bankruptcy
 Code on March 22, 2019.
            3. Said Creditor is a mortgagee lien holder on the real property commonly known as 3919
 CORNELL AVE , PARK CITY, IL 60085.
            4. The debtor has executed and delivered or is otherwise obligated with respect to that
 certain promissory note (the “Note”). A copy of the Note is attached hereto as Exhibit A. Movant is
 an entity entitled to enforce the Note.
            5.   Pursuant to that certain Mortgage (the “Mortgage”), all obligations (collectively, the
 “Obligations”) of the Debtor under and with respect to the Note and the Mortgage are secured by the
 Property. A copy of the Mortgage is attached hereto as Exhibit B.
            6. All rights and remedies under the Mortgage have been assigned to the Movant pursuant
 to that certain assignments of mortgage, copies of which are attached hereto as Exhibits C-1 thru C-
 3.
            7. That enforcement of said security interest has been stayed automatically by operation of
 11 U.S.C. §362 of the Bankruptcy Code.
            8. The Chapter 13 Plan herein provides for the cure of the default of said mortgage and
 maintenance of current payments during the pendency of the proceedings.
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         9. Pursuant to the Plan, the Debtor is to disburse the post-petition monthly mortgage
 payments directly to this Creditor.
         10. That this Creditor is entitled to relief from the Automatic Stay under 11 U.S.C. §362(d)
 as the Debtor is past due for the June 1, 2019 payment through and including July 1, 2019. Payments
 are in the sum of $1224.02 each, with the total post-petition default through and including the July 1,
 2019 in the amount of $2448.04 (with $22.79 in suspense) for a total default of $2425.25. The August
 2019 payment will be due as well by the anticipated hearing date.
         11. Said failure to make post-petition mortgage payments is sufficient grounds for relief from
 the Automatic Stay for cause pursuant to 11 U.S.C. §362(d)(1).
         12. In addition to the other amounts due to Movant reflected in this Motion, as of the date
 hereof, in connection with seeking the relief requested herein, Movant has also incurred $850 in legal
 fees and $181 in costs. Movant reserves all right to seek an award or allowance of such fees and
 expenses in accordance with applicable loan documents and related agreements, the Bankruptcy
 Code and otherwise applicable law.
         13. That this Court has the authority to order that Rule 4001(a)(3) is not applicable to the
 Order entered in granting this Motion, and this Creditor requests this Court to so order.
         14. Attached are redacted copies of any documents that support the claim, such as
 promissory notes, purchase order, invoices, itemized statements of running accounts, contracts,
 judgments, mortgages, and security agreements in support of right to seek a lift of the automatic stay
 and foreclosure if necessary.
         WHEREFORE, this Creditor, IGLOO SERIES IV TRUST, prays that this Court enter an
 Order, pursuant to 11 U.S.C. §362(d), granting relief from the Automatic Stay and for such other
 additional relief as this Court may deem fit.
 1. Relief from the stay allowing Movant (and any successors or assigns) to proceed under applicable
 non-bankruptcy law to enforce its remedies to foreclose upon and obtain possession of the Property.
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 2. Movant, or its agents, may, at its option, offer, provide and enter into a potential forbearance
 agreement.



                                                  Law Offices of Ira T. Nevel, LLC

                                                  /s/ Timothy R. Yueill
                                                  By: Timothy R. Yueill, Esq.
                                                  Counsel for IGLOO SERIES IV TRUST




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